Case 19-11969-amc         Doc 15    Filed 04/30/19 Entered 05/03/19 09:33:04            Desc Main
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                        UNITED STATES BANKRUTPCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:
                                                      Chapter 13
         Barry Jay Esterman
                                                      Bankruptcy N0. 19—11969AMC
                Debtor.

                                             ORDER

         AND NOW, WHEREAS 11 U.S.C. §109(h)(1) requires that an individual may not be a

Debtor in a bankruptcy case unless, Within the 180 day period before the ﬁling of the bankruptcy

petition, the individual has received an individual or group brieﬁng from an approved nonproﬁt

budget and credit counseling agency as described in 11 U.S.C. §111(a) (“Credit Counseling”),

         AND, it appears that, the Debtor ﬁled this bankruptcy petition in this case without

receiving Erepetition Credit Counseling as required by 11 U.S.C. §109(h)(1), and has not ﬁled a

Certiﬁcation of Exigent Circumstances that satisﬁes the requirements of 11 U.S.C. §109(h)(3),

         It is hereby ORDERED that the above captioned bankruptcy case is DISMISSED.




Date: April 30, 2019
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                                              AsherVM. Chan
                                              United States Bankruptcy Judge
